          Exhibit 16




Case 1:14-cv-00954-LCB-JLW Document 163-16 Filed 01/18/19 Page 1 of 9
Case 1:14-cv-00954-LCB-JLW Document 163-16 Filed 01/18/19 Page 2 of 9
Case 1:14-cv-00954-LCB-JLW Document 163-16 Filed 01/18/19 Page 3 of 9
Case 1:14-cv-00954-LCB-JLW Document 163-16 Filed 01/18/19 Page 4 of 9
Case 1:14-cv-00954-LCB-JLW Document 163-16 Filed 01/18/19 Page 5 of 9
Case 1:14-cv-00954-LCB-JLW Document 163-16 Filed 01/18/19 Page 6 of 9
Case 1:14-cv-00954-LCB-JLW Document 163-16 Filed 01/18/19 Page 7 of 9
Case 1:14-cv-00954-LCB-JLW Document 163-16 Filed 01/18/19 Page 8 of 9
Case 1:14-cv-00954-LCB-JLW Document 163-16 Filed 01/18/19 Page 9 of 9
